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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     (at Lexington)

  SHERRILL RAY ROGERS,                             )
                                                   )
            Plaintiff,                             )       Civil Action No. 5: 22-029-DCR
                                                   )
  V.                                               )
                                                   )
  AETNA LIFE INSURANCE COMPANY,                    )                  ORDER
                                                   )
            Defendant.                             )

                                      ***   ***    ***   ***

       The parties have tendered a joint stipulation of dismissal with respect to the plaintiff’s

remaining claims. [Record No. 17] Accordingly, it is hereby

       ORDERED as follows:

       1.       Plaintiff Sherrill Ray Rogers’ claims asserted against Defendant Aetna Life

Insurance Company are DISMISSED, with prejudice.

       2.       Each party shall bear her/its respective costs.

       3.       This action is DISMISSED and STRICKEN from the docket.

       Dated: May 16, 2022.




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